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          In the United States Court of Federal Claims
                                          No. 17-9002
                                      Filed: July 24, 2019

                                               )
 IN RE DOWNSTREAM ADDICKS                      )
 AND BARKER (TEXAS) FLOOD-                     )
 CONTROL RESERVOIRS                            )
                                               )
                                               )
 THIS DOCUMENT APPLIES TO:                     )
                                               )
 ALL DOWNSTREAM CASES                          )
                                               )

                                             ORDER

        On June 27, 2019, plaintiff Lawrence James Madigan permissibly filed an amicus brief
with the Court. See Amicus Brief, ECF No. 176. Defendant filed a motion to strike plaintiff’s
Amicus Brief on July 5, 2019. See Motion to Strike, ECF No. 178. As defendant correctly
asserts, “[t]here is no right to file an amicus brief in this court; the decision whether to allow
participation by amici curiae is left entirely to the discretion of the court.” Fluor Corp. v. United
States, 35 Fed. Cl. 284, 285 (1996) (citing Am. Satellite Co. v. United States, 22 Cl. Ct. 547, 549
(1991)). Upon review of the facts and procedural history of this case, and considering plaintiff is
a named party, the Court concludes that plaintiff is barred from making any filings on his own
behalf, and instead must make any and all filings through counsel. Accordingly, defendant’s
Motion to Strike is GRANTED, and Mr. Madigan’s amicus brief is hereby stricken from the
record.

        IT IS SO ORDERED.


                                                s/   Loren A. Smith
                                               Loren A. Smith,
                                               Senior Judge
